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                                                               Monday, 15 January, 2018 02:38:19 PM
                                                                       Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
        Plaintiff,                        )
                                          )
vs.                                       )
                                          )             17-CR-20037
                                          )
BRENDT A. CHRISTENSEN,                    )
                                          )
        Defendant.                        )

     DEFENDANT’S MOTION IN LIMINE TO EXCLUDE CONFIDENTIAL MARITAL
                           COMMUNICATIONS

I.      Introduction

        The defendant, Brendt Christensen, through counsel moves the Court for an

Order excluding any testimony or other evidence from Michelle Christensen concerning

confidential communications between Michelle Christensen and Brendt Christensen

during their marriage. Federal Rule of Evidence (FRE) 501 governs the applicability of

evidentiary privileges and recites that, unless otherwise provided by the Constitution,

federal statute, or rules prescribed by the Supreme Court, claims of privilege are

governed by common law, as interpreted by the courts of the United States. The so-

called “marital privilege” has “ancient roots” in the common law and is a privilege

recognized by Rule 501. Trammel v. United States, 445 U.S. 43-44 (1980).

        At a time when the common law treated women as chattels and property of their

husbands, a wife was categorically disqualified to testify either for or against her

husband. Id. 52. These outmoded ideas have long been discarded and one spouse is no

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longer automatically disqualified as a witness. Nonetheless, more limited formulations

of the marital privilege survive as an adjunct to society’s interest both in protecting the

sanctity of existing marriages and encouraging confidentiality between marital

partners. In furtherance of these goals, modern courts analyze spousal privilege claims

under two separate regimens: (1) the confidential marital communications privilege;

and (2) the spousal testimonial privilege. Id. The two privileges are distinct, not only in

their justifications but also in terms of what they protect and who may invoke them.

United States v. Brock, 724 F.3d 817, 820 (7th Cir. 2013).

II.    The Confidential Marital Communications Privilege

       The confidential marital communications privilege does not enjoin all testimony

of a spouse. Properly invoked and otherwise applicable, it only bars testimony

concerning “[i]nformation privately disclosed between [spouses] in the confidence of

the marital relationship.” United States v. Brock, 724 F.3d 817, 820 (2013); Blau v. United

States, 340 U.S. 332, 333, n. 5 (1951) (“confidential communications between husband

and wife” are privileged). In this regard, all communications between spouses are

presumed to be confidential and privileged. Wolfle v. United States, 291 U.S. 7, 14 (1934).

The confidential communications privilege does not, however, prevent a spouse from

testifying as to matters she observed during the marriage or concerning spousal

communications made in the presence of third parties. Brock, 724 F.3d at 821. Thus, for

example, the spouse can be required to testify as to actions he or she saw the defendant-

spouse engage in.




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         Unlike the testimonial privilege, infra, the communications privilege

independently belongs to both spouses and thus can be invoked by either. Brock, 721

F.3d at 820. Also, unlike the testimonial privilege, infra, the confidential communication

privilege survives dissolution of the marriage, as its purpose is to protect the

confidentiality of communications during the marriage and not the marriage itself. Id. at

821; United States v. Byrd. 750 F.2d 585, 590 (7th Cir. 1985). The confidential

communications privilege, however, does not apply to communications made when the

parties were permanently separated. United States v. Fulk, 816 F.2d 1202, 1205 (7th Cir.

1987).

         Counsel has been provided statements in discovery that Michelle Christensen

gave to the FBI wherein she disclosed conversations between herself and Mr.

Christensen that are at the heart of confidential spousal privilege. In part, these

statements recite statements to Michelle Christensen wherein her husband described

disturbing dreams and otherwise revealed his most private thoughts. As such, upon

appropriate objection which Mr. Christensen herein raises, Michelle Christensen cannot

testify concerning these matters or any other presumptively confidential

communications between herself and Mr. Christensen during their marriage. And,

because either party to confidential marital communications may invoke the privilege,

Michelle Christensen’s revelation of these statements to the FBI does not constitute a

waiver by Mr. Christensen. United States v. Wood, 924 F.2d 399, 401-02 (1st Cir.

1991)(distinguishing the spousal testimonial privilege which can be waived, court holds

wife could not waive husband’s privilege against disclosure of confidential marital

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communications and thus incriminating letter he sent her from jail was inadmissible);

United States v. Neal, 532 F. Supp. 942, 947 (D. Colo. 1982), aff’d 743 F.2d 1441 (10th Cir.

1984) (privilege not lost where one spouse let police eavesdrop on conversation with

spouse).

       In light of the above principles, counsel seeks an order barring any testimony

from or questioning of Michelle Christensen concerning any conversation with or

communication from her husband, Brendt Christensen during their marriage, or any

reference thereto during the trial of this case, absent a prior determination of

admissibility by the Court.

III.   The Spousal Testimonial Privilege

       Properly invoked, the spousal testimonial privilege bars spousal testimony on

any adverse fact, no matter how it becomes known to the spouse. Thus, this privilege bars

testimony from a spouse not only concerning privileged communications but also

conduct observed by the spouse. Brock, 724 F.3d at 822.

       Unlike the confidential communications privilege which belongs to both spouses,

the testimonial privilege can only be invoked by the witness-spouse, Trammel v. United

States, 445 U.S. 40, 53 (1980) (overruling rule of Hawkins v. United States (citation

omitted) that the defendant could invoke the testimonial privilege to bar his wife from

testifying against him), and only applies to adverse testimony in a criminal case. Brock,

724 F.3d at 822. As its rationale is grounded in protection of the marriage, the

testimonial privilege does not survive dissolution of the marriage. Id. In United States v.

Byrd, 750 F.2d 585, 592-94 (7th Cir. 1985), the Seventh Circuit held that the testimonial

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privilege also does not apply when the marriage is “in fact, moribund, though legally

still valid,” while also noting that marital deterioration alone does not destroy the

privilege because this would impose a “heavy fact-finding burden” on the court); see

also United States v. Clark, 712 F.2d 299, 303 (7th Cir. 1983) (court should avoid making

“subjective determinations” whether testimony “would in fact be disruptive of marital

harmony.”).

       The Seventh Circuit has directed that the witness-spouse should be informed

about the possible existence of a privilege not to testify adversely to the other spouse in

a criminal case. “Nothing should stop counsel for the defendant-spouse from raising an

objection to the witness-spouse’s testimony to ensure that she knows she cannot be

required to testify against the defendant-spouse.” Brock, 724 F.2d at 823. The Court

further observed that the trial judge should also take steps to ensure that the witness-

spouse is aware of the testimonial privilege and that the witness-spouse may invoke the

privilege if it is otherwise applicable and he or she elects to do so. Id. Accordingly,

counsel for Mr. Christensen requests that this Court specifically inform Michelle

Christensen of the possible existence of a testimonial privilege not to testify against her

husband and, if she nonetheless elects to testify, conduct an appropriate inquiry to

determine that her decision is knowingly and voluntarily made.




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                                Respectfully submitted,

                                BRENDT A. CHRISTENSEN, Defendant



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                              CERTIFICATE OF SERVICE

      I hereby certify that on January 15, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller. A copy

was also mailed to the defendant.

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